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                                                                         May 08 2018
 1    Darren Chaker
      1140 Wall Street #77                                                 s/ joanag
 2
      La Jolla, Ca 92038
 3    DarrenChaker@Gmail.com
      213/915-6804
 4
 5                              UNITED STATES DISTRICT COURT
 6                        SOUTHERN DISTRICT OF CALIFORNIA
       ARREN CRAKER,                           Case No.: 16CV1872-cab (BLM)
 7
 8                 Plaintiff,                   PPLICATION TO FILE MOTION AND
                                               FILE APPLICATION TO SEAL UNDER
 9          vs.                                SEAL
       EESA F AZAL, et. al.                    [L.R. 79.2]
10
11                 Defendants.

12
13          COMES NOW DARREN CRAKER, Petitioner, and files this Application to fil

14    the Application and Supplemental Emergency Motion to Seal Records under seal.

15          The Supreme Court has reaffirmed strong privacy interests in dissemination o

16    personal, confidential information. See Whalen v. Roe, 429 U.S. 589, 599 (1977); Nixa

17
      v. Administrator of General Services, 433 U.S. 425, 457-59 (1977).
            The motion being presented to the court references extensive records whic
18
      contain medical psychiatric diagnosis, orthopedic diagnosis, the fact he is prescribe
19
      psychiatric medication, and references to being responsible for assembling records
20
      concerning HSI Special Agent Alex Levitin to the USAO and FBI. This application t
21
      seal is requested to be sealed due to the fact it discloses the above confidentia
22
      information in support of filing the attached motion under seal.
23
            Additionally, Hon. Jill L. Burkhardt recognized serious safety concerns expresse
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      in a different motion to seal when granting the motion. (Ex. 1) Defendant has also bee
25
      forced to obtain a sealed name change and entered into the Safe at Home Program create
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 1    to keep residential address and other personal information confidential 1• (Ex. 2 - non-
 2    public record). In a Texas child custody matter the court found good cause existed base
 3    upon threats and security concerns to plaintiff and ordered the record sealed. The cou
 4    also ordered the records to not be disclosed. (Ex. 3 - sealed court order)
 5           Given the nature of the information and records sought to be sealed, Plaintif
 6    requests the Supplemental Emergency Exparte Motion to Seal and instant Application ar
 7    filed under seal as to not disclose the nature of the records sought to be sealed, and wha
 8    records this court may decide to seal.
 9    DATED: 4/30/18



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                                                         Plaintiff
                                                                     . Chaker



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        "The Legislature finds that persons attempting to escape from actual or threatened domesti
26    violence, sexual assault, stalking, or human trafficking, frequently establish new names o
27    addresses in order to prevent their assailants or probable assailants from finding them." (Gov.
      Code,§ 6205 (Deering, Lexis Advance through Chapter 6 of the 2018 Regular Session).)
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              Case 3:13-mj-03222-JLB Document 15 Filed 12/30/14 Page 1 of 2




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10                          UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,              Case No. 13mj3222-JLB
13
14                      Plaintiff,
                                             ORDER GRANTING IN PART AND
15                v.                         DENYING IN PART MOTION TO
16                                           SEAL
      DARREN D. CRAKER,
17                                           [ECF No. 14]
18                      Defendant.
19
20
21         On October 30, 2014, Defendant Darren D. Chaker sent to the Court, but did not
22 file, the instant Motion to Seal Partial Record. By direction of the Court, that motion was
23 filed, under seal, on December 30, 2014. (ECF No. 14.) By this motion, Defendant
24 moves the Court to seal (1) a letter, entitled Confidential Request to Seal Records, which
25 was previously submitted by the Defendant but rejected for filing by the Court on
26 November 20, 2013 (ECF No. 10); (2) the docket entry for ECF No. 6; and (3) the
27 recording of Defendant's bond hearing on September 5, 2013 (ECF No. 6).
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              Case 3:13-mj-03222-JLB Document 15 Filed 12/30/14 Page 2 of 2




 1              As to the Confidential Request to Seal Records (ECF No. 10), this document was
 2 not accepted for filing, and instead was rejected due to discrepancies.                 Because this
 3 Confidential Request is not a part of the case file, having been rejected for filing, there is
 4 no reason why the document should be accessible to the public, especially in light of the
 5 privacy concerns expressed by Defendant. Defendant's motion to seal the Confidential
 6 Request to Seal Documents, currently visible as Page 2 ofECF No. 10, is GRANTED. 1
 7              As to Defendant's motion to seal the docket entry at ECF No. 6, that request is
 8 DENIED IN PART and GRANTED IN PART. Defendant's "legal name" as set forth in
 9 the docket entry is ordered redacted/stricken. The remainder of the docket entry text will
10 remain in place.
11              As to Defendant's motion to seal the recording of Defendant's bond hearing, this
12 motion was previously denied by Judge McCurine. (ECF No. 12.) Because Defendant
13 has not presented the Court with any new or additional material information since this
14 motion was denied by Judge Mccurine, the motion is DENIED.
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                IT IS SO ORDERED.
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                DATED: December 30, 2014
18                                                                   HO    RABLE JILL L. BURKHARDT
19                                                                   UN 1: D STATES MAGISTRATE JUDGE

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          Page I ofECF No. 10 is the Discrepancy Order, and is to remain unsealed.
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                            SECRETARY OF STATE


            Darren ChakerDelNero
          Cougratlllationsl You are officially enrolled as a member of the Safe at
.. Home Confidential Address Program. By using~0ur new substitute PO Box.
   :mailin~ ad!h'ess \Vh~ i:rreating gov~mn:ie~t and pll,blic documents, your home,
   worlql1aee or scnool' locatioff will remain 'confidential and free from public access,

         l am pleased to administer this !orig overdue service to help protect surviYotS'
   of domestic violence, stalking and sexual assault and that you chose to use Safe at
   Home as an addition to your overall health and safety plan.

             Tb.erefore, I, DEQ~A BOWEN, Seeretacy ofState of the State of California,
      hereby certify that on the 6 day of Janu1:1ry, 2009, Darr<m Cbaker DelNero, is an
' .. a'ttive
        .     participant ofthe Safe at Home program established by Statutes of 1998,
 ....:~;Chapter 1005{SB 489) and2000,. Chapter 562 (SB
                                  .

       '               '                               .    1318).




                                               IN Wl~SS WHEltEOF, I ~e1:utethis
                                               <:erdfieat~ and~ the Great Seal of the
                                               State. of C•lifomia this January 6, 2009.
           Case 3:16-cv-01872-CAB-BLM Document 68 Filed 05/08/18 PageID.664 Page 6 of 8


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                                             Case No. 2009-70010
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                COLE MATEO,
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                   Respondent.
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     Y8:
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                                   ORDER SEALING COURT RECORDS
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                   The Honorable Bonnie HeHiums, Pre11iding Dis~ict Court Judge.
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        ~ending.bef'Qte the Court is D~Chaker' s Motion to Seal Record (''Motion"). The
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        Cot,lrt ealled.111~ Mo1l.olt forh~ll')"' onN<wc:im'l>er u. 2011. Petitioner~ Chak:er
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        appeared through cotmsel, Yaton I,;Ut$k. Respon(i¢1ltNieo1e MateQ did not ~P~ or file
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            a response to the Motidn.
     15
                   After considering the pleadings and affidavit ill the Petitioner, the evidence .an
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           arguments of eoul')sel, the Court fi;ids that the Motiop: has merit and tbatthe disclosure o
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        records, disO!llveey and related 1nt'ormation will result in mepanilile injury to Petitioner.
     1$
        The court also 'finds ~pecl~<; ~eriotis and substantial mterests clearly outweigh th.
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        presumption of openness provided by Texas Rufo of Civil Procedure 76a(l) and an
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            ~Qb.ai.lle.ad~~@~W that sea~11gwill have upon :public's health or safety.
                   IT IS, THBREFORE, otm!RED that the MJotlbn·1is·oM;N~D.
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                   ITJS'ORDERED thaUh~ foll(>wing court r¢oords Jl'<.l sealed:
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        miled in phyji~llll ~ ~lec1rottJic (di:m, except thos~ ii~~ents ~ at:<.1 requited by raw .
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        to be recorded mthe minutes of the Court. thetecordil $b11!1 not be opened or released
     26
        except on appropriate court order unless used in oonn<.1ction with th.e instant case.
     27
               IT IS FURTHER Qlm~D that Petition~r, Darren Chaker, and Responden
     28: NiCQle Mateo, shall not rel<.1as~ distrib:ute or previde any sealed record, including an
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        ' 2     otli.et entity to ehf'Qrce any order oi:the Coµrt or in co~ection wlth any iilture or pend' ·
              3 litigation between ·the parties.
             4 S!GNED this day_ of Noveniber, .2<Jl l
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